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                                                                                                EXHIBIT 384.R

                                                                                                    EXHIBIT 384.R-001
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●   2: x-Google value?




                                                                                                        EXHIBIT 384.R-002
                                                                                             GOOG-PLAY-004146690.R
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●   product commits? Better than expected?
●   Link to source




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●   Cloud Deals:
●   -ABK: $230M, 4-yr ($221M incremental) - Titles: CONFIDENTIAL - COD,
●   -Niantic: $100M, 3-yr ($40M incremental) Titles: 3
●
●   - Not closed - Pearl Abyss: $23M, 3-yr Titles:
●   -Riot: $20M, 3-yr (+$20 incremental)
●   -Netmarble: $18M, 3-yr (0 incremental commit but growing 426% YoY)
●   -NetEase: $15M, 3-yr (+$14M incremental)
●   TOTAL: $428M. Incremental: $331M
                                                                                                            EXHIBIT 384.R-011
                                                                                                 GOOG-PLAY-004146699.R
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   ●   Cloud KPI Definitions:
   ●   -ARR acceleration: Defined as average YoY growth between BC 5-year total: $242M, HUG BC 5-year total: $581.5M and
       HUG new projected 5-year total: $1.2B.
   ●   -Win-rate acceleration: Defined as conversion percentage increase from BC %. BC conversion was 25% w/o HUG and
       60% with HUG (.6/.25-1) = 140%. Already signed 12 out of 18 developers so 67% conversion. Estimating conservatively at
       80% through program duration. (.8/.25-1) = 220%.
   ●   -Marquee titles on GCP: Defined as number of marquee titles on GCP from signed developers. 9 titles include”
   ●   >>Netmarble: Lineage 2 Revolution, BTS world migrating from AWS
   ●   >>Mixi: Monster Strike - Expected to 13x spending
   ●   >>Pearl Abyss - Black Desert Mobile - new customer
   ●   >>Com2US - Monster Warlord, Dragon Blaze, TALION and new title
   ●   >>Aniplex - Fate Grand Order - Expected to 40x spending




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●   Mitigation driven by (1) signed developer spend under sim-ship contract, (2) other stores and (3) ) other devs (halo effect)
●   For more information on methodology of calculation, see here




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●   product commits? Better than expected?
●   Link to source




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                                                                                                    EXHIBIT 384.R-024
                                                                                         GOOG-PLAY-004146712.R
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●   er




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                                                                                         GOOG-PLAY-004146719.R
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●   product commits? Better than expected?
●   Link to source




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●   Reduce words.

●   But developer+ partnership story first, then follow up with what it results in (and why it’s good for) for the user.


●   Lead with the rationale, then follow with WIP ideas.

●   Add more examples of types of ideas.
                                                                                                                                      EXHIBIT 384.R-039
                                                                                                                           GOOG-PLAY-004146727.R
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●   Break up by parties (dev, carrier, google), underneath is what they contribute
●   What they get out of it
●   Focus Slide 7 on the user centric view
●   Slide 7 on the developer centric view
●   Two ideas here -- include a bunch of ideas so we aren’t pigeon-holed into the presented ideas if Nick / Sameer doesn’t like it.
●   Set expectations with Nick / Sameer


                                                                                                                                      EXHIBIT 384.R-040
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●   Explore the world of The Mandalorian, interact with characters in augmented reality and capture your very own scenes to share with friends




                                                                                                                                EXHIBIT 384.R-041
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●   $Niantic - $100M/3yr, starting in Sept 2019
●   ABK - $230/3yr, started in jan 2020
●   Riot - $20/3yr - started in jan 2020
●   Netease - $15M/3yr - started in july 2020
●
●   PENDING: EA $15M , Tencent $40M, PA - $15-18M


                                                                                                              EXHIBIT 384.R-042
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●   BC assumption of uplift was equivalent to 50% of released credits ($16M, 10% actual) - actual uplift range of $30-$45M (20-30%) based on
    analysis performed
●   Note: Incrementality results obtained via 2 separate goliath analyses, and a CausalImpact analysis

●   Automate credit distribution via build of new payments tool to shift from manual credit memos to automated coupons



                                                                                                                               EXHIBIT 384.R-046
                                                                                                                    GOOG-PLAY-004146734.R
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●   Note: Based on incrementality study, ~50%, or $44M (of the 83% growth) is attributable to Hug, with the remaining ~33% due to other factors.

●   Note: King has been removed from all Activision Blizzard metrics, as they have had a Hug contract from Jul-19 (new ABK deal effective Apr-
    20)
●   King’s Hug treatment period is 12 months (Jul-19 to Jun-20), whereas Activision Blizzard’s treatment period is only 3 months (Apr-20 to Jun-
    20)
●   Consolidated ABK accounts for ~70% of credits earned, and 55% of total uplift net of credits
                                                                                                                                 EXHIBIT 384.R-047
                                                                                                                      GOOG-PLAY-004146735.R
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●   Avg credit earn rate through Jun-20 was ~22% of total UAC spend (Hug was 33% on QS-only), so we still have a large gap from what we
    currently hold ads-only programs to




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●   Time Period (mo) : Pre Hug = Post Hug: For example, a contract signed in Nov-19 (Niantic) is active 8 months as of Jun-20. Therefore, pre-
    hug revenue is Mar-19 to Oct-19 (-8 months) and post-hug revenue is Nov-11 to Jun-20 (+8 months)

●   Note: King has been removed from all Activision Blizzard metrics, as they have had a Hug contract from Jul-19 (new ABK deal effective Apr-
    20)
●   King’s Hug treatment period is 12 months (Jul-19 to Jun-20), whereas Activision Blizzard’s treatment period is only 3 months (Apr-20 to Jun-
    20)
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●   Program - results - roi external - roi internal - sentiment tracker




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●   product commits? Better than expected?
●   Link to source




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Slide 67

3            This is too vague I'm not sure what you're trying to convey... do you mean:
             Utilize GVP partnership to address continuing top developer concerns
             Danielle Martinak, 2/4/2021

7            Something like this also leads nicely into the next slide that intros new developers
             Danielle Martinak, 2/4/2021

4          Karan Gambhir@google.com
             Took a stab at this slide. Reshuffled/reorganized a bit.
             We can discuss tomorrow.
             Danielle Martinak, 2/4/2021

2            (just reconciling with the previous success slide that highlights margin improvements for Ads)
             Danielle Martinak, 2/4/2021

5            I'm being extra careful with wording here (it's risk)
             Danielle Martinak, 2/4/2021

6            But also Divya's wording is pretty clever. As we want to retain Developers using our services aka billing platform.
             Danielle Martinak, 2/4/2021

1            How come Ads has great margins but negative ROI
             Danielle Martinak, 2/4/2021

1            They reevaluated... earlier breakeven was calculated as 20%, but has been revised to 10% (breakeven is now defined at 10% in credits).
             Also, the ROI is based on "incremental" growth minus cost of credits, so while margins overall are great, cost of credits largely balances
             out incremental growth
             Karan Gambhir, 2/4/2021




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